                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION


AMERICAN FEDERATION OF MUSICIANS                              )
OF THE UNITED STATES AND CANADA,                              )
AFL-CIO,                                                      )    Civil Action No. 3:20-cv-00318
                                                              )
        Plaintiff,                                            )    Judge Aleta A. Trauger
                                                              )
vs.                                                           )
                                                              )
RURAL MEDIA GROUP, INC., and                                  )
RFD-TV, LLC,                                                  )
                                                              )
        Defendants.                                           )


      JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY PROCEEDINGS

        Plaintiff and Defendants, by and through counsel, hereby respectfully notify this Court that the

Parties have entered into a settlement agreement to resolve this lawsuit. The resolution was agreed to

following multiple settlement discussions between the Parties.        In light of the foregoing, the Parties

request that the Court stay all proceedings and deadlines for a period of thirty (30) days to allow the

Parties to fully-execute the terms of the settlement agreement. Once the Parties have fulfilled their

obligations under the settlement agreement, the Plaintiff will file a notice of dismissal with prejudice.

        WHEREFORE, the Parties respectfully request that this Court enter an Order staying all

proceedings and deadlines for thirty (30) days, pending the consummation of the settlement agreement.




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DATED: May 6, 2022                 Respectfully Submitted:

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                                   and RFD-TV, LLC




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                                   CERTIFICATE OF SERVICE

     I hereby certify that a true and exact copy of the foregoing has been served via the Court’s online
CM/ECF system on this the 6th day of May, 2022.

                 Brian K. Norman                              George H. Cate
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                                                  /s/ Joe P. Leniski
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